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                                                                                                  EXHIBIT 13


                                                                                                               1




1                     IN THE UNITED STATES DlSTRICT                                 COURT
                       EOR THE SOUTHERN DISTRICT OE                                 TEXAS
2                               HOUSTON DlVISION
 ?   JACQUELINE SMITH,                                    )
             Plaintiff,                                   )
 4                                                        )
                                                          )   CIVIL ACT]ON               NO
 5   V                                                    )   4:15-cv-2226
                                                          )
 6                                                        )
                                                          )
 1   HARRIS COUNTY, TEXAS,                                )
             Defendant.                                   )
 R


                          )k* * * * * * * r(* ** * * r(* * * * * * * * * * * * * *'( *   )k   *
 9

10                                       ORAL DEPOSITION                  OE

11                                         JACQUELINE SMITH
72                                                May L6, 2017
                          ***   ****    * * ***    * r(* ** ***   *'(**   * ***    *)l('( *)k*
13

74           ORAL AND VIDEOTAPED DEPOSITION OF JACQUELINE SMITH,
15       produced as a witness                    at the instance                 of the Defendant,
76       and duJ-y sworn, was taken in the above-styled and
l1       numbered cause on the 16th day of May, 207'7, from
18       9:44 a.m. to 3:16 p.m.,                    before        Lillian          C- Melancon,     CSR

t9       in and for the St'ate of Texas, reported by machine
20       shorthrand, at the law offices of Baker Donefson Bearman
27       Cal-dwell & BerkowiLz,PC, 1301- McKinney Street,
22       Suite 3700, Houston, Texas '7'7OlO, pursuant to notice,
23       the Federal Rules of Ciwil Procedure and the prowisions
24       stated on the record or attached hereto.
25

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                                              Jacqueline Smith - May 16,2017                               t9

10:05:39        1        O.    Do you know if        it   had been several- years or
'f
     0:05:43 2       seweral- months ?
10:05:49 3                A.    Irm noL sure.
10:05:53        4          O.   When was the last         time you remember him hawing
10:05:57 5           a ;ob?
10:06:14 6               A.     I don't    remember the year.
10:06:21        '7
                           O.    Is there any way for you to balJ-park it? Was

10:06:26        8    it   more than fiwe years before he went to jail in 2012,
10:06:31 9           more than ten years before?
10:06:32       10          A.   It   wasn't   more than fiwe,            I don't        it     wasnrt
'10:06:36 1 1        more than fiwe.
10:06:38 1 2               O.   But it    might hawe been a couple of years?
10:06:42       13          A.   Yes.
10:06:50       14          O.   What type of work was he doing?                     The last     time
10:06:55       15    you remember him doing work, what type of work was it?
 10:07:00 1 6            A.   The l-ast job was meter reader for CenterPoint.
 10:07:10      17          O.   Was he a fufl--time        empJ-oyee for           CenterPoint?
 10:07:15      18          A.   Yes,   ma I am.

 10:07:16 1 9              O.   Do you recall       how lonq he had that              job?
 '10.07'.21    20          A.   I'm not sure, but              the length,          but maybe six
 10:07,28      2l    months.
 10:07:31      22          O. And you said "maybe six months."
 10:07.36      23                   What    what other ;obs do you recal-I                           him
 10:07:39      24    hawing had j-n the last ten years?
     10:0741   25        A.   Darryl Merchant Design.   It's just Darryl                         &



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                                                    Jacqueline Smith - May 16,2017                     20


10:07:44 1           Company now.       He did stagingr for them.
10:07:49 2                 O.      Any other jobs?
10:07:51 3                 A.      And he worked for a lawn service.                 And that's
10:08:02        4    all   that    I remember.
10:08:02 5                O.       Now the job when he worked for Darryl                 Merchant
10:08:04        6    doing stagring,         was that      stagrinq homes?
'10:08:07 1                A.      No.      It    was events -- weddings and different
'I
     0:08:12    8    events.
'10:08:1   3    9          A.      Was it        steady employment or was it          occasional?
10:08:18       10          A.      No, it        was steady.      I worked there      as we1l.
10:08:21       11          O.      What was that          time period?
10:08'24       72          A.       I donrt       remember.     Maybe it's      11 years ago.
10:08:37 1 3               O.      Did you work             was it       whil-e you were also
10:08:41       14    working as a nurse assistant?
10:08:43 1 5               A.      No.      That was like        right     before because in
10:08:46 1 6         between time I've             always did nurse assistant          for
10:08:51       17    77 yearsr       so in between that, because that would -- the
10:08:52       18    Darryl       & Co. j-s like to go set up a wedding and then go
10:08:57       19    and tear       it   downr So it       was maj-nly on the weekend.
10:09:02 2 0               O.      Do you know how long your son did that                    tyPe of
10:09:06       21    work?
 10:09:06      22          A.       He did that        maybe six months as we1f, until            he
 1   0:09:15 2 3     had an episode.              He couldn't     hold on        you know, he
 '10:09:26     24    had -- because he had a episode with his bipolar-
 10:09:26 2 5            O.   When you say "an episoder " can you describe

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                                             Jacqueline Smith - May 16,2017                      26


10:16:30      1    2OO3? Does that sound right to You?
10:16:33 2            A.   I'm not sure.   I don't remember.
'10:16:39 3             O.      But in any event,         he was in the Texas
10:16:48 4         Department of Corrections             jail in Brazoria County for
10:1   6:50   5    six yearsi      is that    right?
10:16:51      6         A.      Yes.
10:1   6:51   1         O.  Do you know how old he was when he went into
10:1   6:54   8    jail for that?
10:16:57 9              A.      Seven-L6 or 17, Itm -- I'm not sure.
10:17:06    10         O.   Do you know with regard to that aggravated
10:17:10 1 1       robbery case, whether he was found guilty or pled
'10:17:15   l2     guilty?      Do you know?
10:17:16 1 3            A.      I'm not sure.
10:17:21    14          O.      Was that     the first     time that      your son had ever
10:17:28    15     been arrested?
10:17:39    16          A.      Irm not sure.          I don't    remember.
10:17:47    77          O.  And you said -- when I was asking you earl-ier
10:17:50 1 8       about when was the first time he exhibited signs of
10:17'54 1-9       having mental heal-th issues, I beli-ewe your testimony
1017.54     20     I just want to make sure I understood this correctly
10:17,59    2l     was that you noticed something when he was came out of
10'.18:03   22     the jaili     is that     correct?
10:18:05 2 3            A.      Yes.
10:18:05    24          a.      So up until     that     point     in time prior     to his
10:18:09 2 5       incarceration       in Brazoria       County, was there         any sign to

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1   0:18:15       1    you that    he had any type of mentaf health                  condition?
1O:18:18 2                         No.
10: l    8:28     3         O.     Your sonts father,            what was his name?
1   0:18:32       4         A      DeByron (phonetic)            Hawkins.
'10: l   8:37     5         lJ.    He committed suicide;                is that   correct?
10:18:40          6         A      YeS.
10:18:40          1         o.     When did that           happen?
10:1     8:42     8         A      I don't     remember.
10:18:48 9                  r)
                            Y'     Was it     before       or after      your son went to
10:18:53         10    Brazoria    County jail?
10:18:54 1 1                A.     It     was during.
10:18:59         12        o.      Was your son al-Iowed to attend                 the funeral    or
10:19:04         13    anything    fike     that
10:19:05 1 4                A.     No-
10:19:05         15         O.            wh.en he was in       jail?
10:19:07         16         A.     No.
10:1917 7'7                O.   Whil-e your son was in jail i-n Brazoria County,
10:19:23         18    do you know if he received any type of mental health
10:19:28         19    treatment   ?

    10:19.,29    20         A.     No, I don't        .

    1019.34      2l         O.     Do you know j-f, when he was in jail                  in
    10:19'38     22    Brazoria    County, whether he was diagnosed with any type
    10'.19'.42   23    of mentaf heal-th condition?
    10:19:45     24         A.     I don't         know.
    10:19:50 2 5            O.     Do you reca.l-I what year your son got out of the

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'I
     0:19:57       1        jail       in Brazori-a County?
10:20:05 2                                 I don't    remember.          I don't
10:20:1     5      3               o.      So when your son got out,               he was approximatel-y
10'.20.24 4                 21,    22    years o1d; is that           correct?
'10'.20,28 5                       A.      Yes.
10:20:30 6                         a.      How ol-d was he when he died?
10:20:36 1                         l       I don't    know.
 10.2041               8        o.   Are you okay to continue?                        You want to take        a

 1O:20:41 9                 break, Ms. Smith?
10:20:50 1O                                        MS. HEDGE: Why don't               we take   a   break.
 10'20'52 77                                       THE VIDEOGRAPHER: The time is                    7O:2O a   m

 10:20:55         12        Wetre off       the record.
 10:20:56 1 3                                      (Break taken from L0:20 a.m. to
 10'24.48         14                               70:.24 a.m.   )

 10,24.49         75                               THE VIDEOGRAPHER: The time is                    1,O:24 a.m
 10:24:55         76        We're back on the record.
 10:24:57         ll               O.      (BY MS. HEDGE) All             right.       Ms. Smith, you're
 10:24:59         18        okay to proceed?
 10:25:00 1 9                      A.      Yes.
 10:25:00 2 0                      O.      Okay.     I want to gro back to somettring we were
     10:25:04     27        talking                about your son's employment-
                                          about earlier
     10'.25.07    22                       You mentioned that he      the l-ast job that
     10.25:11     23        you could recaff that he had was as a meter reader for
     10'.25:'t6   24        CenterPoint, and it was your recollection    he did that
     10'25:19     25        type of work for approximately                   six months; is that

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10:26:30      1            A.     A hundred do1lars.
10126132 2                 O.     A hundred dollars             a week? A Lrundred doflars
10:26:35 3                 A.     A hundred dol-Iars            a week.
10.26:41 4                 O-     When we were talking              earl-ier    about the checks
10,26'.47 5        from MHMRA, was that                   do you know if          that   was somehow
10:26:53      6    refated       to social        security      and disability       benefits?
10:26:56      1            A.      I'm not sure-
10,27:Q0 8                 O.     Did you ever see the checks that he receirzed?
10,27.02 9                 A.     No. For that, the caseworker helped him
10:27:07     10    through       afl     of that.
10:27:08 1 1               O.      Handled the PaPerwork?
10:27:10     12            A.      Yes.
10:27:14     73             Did he use any of the money he would receive
                           O.
10:27:17     14    from MHMRA to contribute towards your expenses?
'10.27:24    L5            A.      No.
1O'27:30     76            O.      Earlier       we tal-ked about your son was in jail                in
10'.27:35    l'7   Brazoria        County for        six years,      and he was released           from
'10.27:40    18    the jail        when he was approximately                  2l or 22 years old;
10.27:45     l9    i-s that       correct    ?

10'.27'.45   20            A.      Yes.
10:27:45 21-               O.      And your son was born j-n 1986; is that                   correct?
10:27'51     22            A.      Yes.
'10.27:52    23            O.      So at the time he was in the Harris                    County
10.27:57 2 4       jai1,        dt the time he died he was 2'7; is that                   right?
10'.28'.01   25            A.      Yes.

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10:29:42        1         A.      I'm not sure what the voices               said.     He just
10:29:47 2           said he heard woices.
10:29:49 3               O.   While your son was in jail in Brazoria County,
10'2952         4    did he ever attempt suicide, to your knowledge?
10:29:55 5                A.      To my knowledge, no.
10'29:57        6        O.   When was the first  time that you became aware
10:30:00        1    that he had attempted suicide?
10:30:05        8        A.   Would hawe been the first  time hearing about it
1   0:30:10 9        when        oh, no.       He took some pills,          his medicine.           This
10:30:29      10     is when he was hrome before            he went to jail          this    last
10:30:33 1 1         t-ime .    I don't    remember.       And that    was
10..30.45     12                          You're    saying the first         time,    correct?
10:30:47      13         a.   Right.   The first time you became aware that                           he
'10:30:50     14     had ewer attempted suicide.
10:30:51 1 5             A.   Yes, that was before he went to jaiI.
10:30:51      16          O.      Is that
'10:30:55     17          A.      The pills,       the medicine that         he had.
10:30:58 1 8              O.      Okay.     And just      to make sure I kind of hawe the
10:31      :02 1 9   time.l-ine right,      when your son got out of the Brazoria
10:31:05 2 0         the ;ail     in Brazoria       CountY, that      was

10:31:11      21                          And did you know the time period                  for that,
'10:31     14 22     approximately        what year that       was?

1   0:31   :16 2 3        A.      No.
10:31:16       24          O.         But in any ewent, when he was hearing
                                  Okay.
1O'.31i20      25    woices when hre got out of the jail in Brazoria county,

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10:32:47       1           A.   Wel-I , dL      I don I t remember the year.
10:32:55 2              O.      Was it     between the time he got re-l-eased from
10:33:00 3          the jail    in Brazoria      County and his first             incarceration
10:33:04       4    in the Harris        County jail?
10:33:06 5                 A.   I don't      remember.
10:33:1   1    6           O.   Do you know what kind of                 strike     that.
1   0:33:19    1                       What was the first          type of treatment           that
10:33:23       8    he began receiwing?
10:33:30       9           A.   I don't      remember.  I iust know that the
10:33:34 1 0        caseworker was taking         care of al-l that.  I didn't              take
10:33:39      11    care of that.         She came, you know, and was helping                  him
10'33:42      12    out,    and I don't         I donrt know.
10:33:45 1 3             O.   When    did your son                 now you said he took
10:33:49      14    pi11s whil-e he was home.
10:33:52      15                         Did he attempt to commit suicide               that    way?
10:33:55      16           A.   He took some pil1s.            I don't    remember how many,
10:34:01 1 7        but he took some.
10:34:03      18           a.   Is that      while he was lj-wing at your mother's
10:34:07      19    house with you?
10:34:08 2 0               A.   Yes.      Yeah, same time.
10:34:13      27           O.   Did he go to the emergency room?
10:34:15      22           A.   Yes.
10:34:16 2 3               O.   Which one?
10:34:18 2 4               A.   Methodist      Will-owbrook.
10:34:27      25           O.   How long was he in the hosPital?

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10:34:29      1          A.        f'm not sure.
10:34:30 2               O-        Was it    a couple of days?           A couple of weeks?         A

10:34:34 3         couple of months?
10:34:35       4           A.      Maybe a couPle of weeks.
'10:34:48 5                O.      While he was at Met.hodist Willowbrook,                dt any
'10:34:56 6        point        during    that    stay was he in a coma?
10:35:02       7           A.      I'm not sure.
10:35:07       8        O.   Were there any other attempts to commit suicide
'10:35:12 9         that were made by your son when he was not in jail?
10:35:16      10           A.      No.
10:35:21 1 1            O.    When was the first  time you became aware that
10:35:25      12    the voices were telling   your son to harm himself?
10:35:30 1 3            A.    I newer     I newer knew about him -- the voices
10:35:35 1 4        telling       him to harm himself.
10:35:39 1 5            O.   When your son was in jail                      in Brazoria   County,
10:35:45 1 6        did you wisit him?
10'35:,47 7'7              A.      Yes.
10:35:48      18           O.      How often       did you visit       him there?
10:35:50      19           A.      Once a month or every two weeks.
10:36:01 2 0               O.      Did any other family members visit                 him while he
10:36:06      21    was in jail          there?
10:36:08      22           A.      Yes.
10:36:08 2 3               O.      Who was that?
10.36:09 2 4               A.      My other three         kidsr     my mother,     his other
10:36:1   3   25    grandmother,          and my brother          and grandchildren

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'10:37:35 1               O.       How often  did theY wisit?
10:37:36 2                A.       The same. We al-l- went togettrer every time.
10:37:39 3                O.       Who el-se was with you when you went once a
10:37:42 4        month or every two weeks other than you and -- and the
'10:37:45 5       sibJ-inqs    ?

10:37:46 6                A.       Well-, it    was hard to make because it's                only    a

10:37:49     '7
                  limited      visiting        amount. So it would be either                me and
10.37.52 8        my mom and maybe three kids r ot it would me and my
'10:37:55 9       daughter and three kids or      l-ike we would just
10:37:59    10    afternate it.   There was a limited amount of adufts                              that
10:38:05    11    could go.
'10:38:10   12            O. WhiLe your son was in jail in Brazoria County,
'10:38:15   13    in addition to visiting   him, did you send him letters?
10:38:19    14            A.       Yes.
10:38:19 1 5              O.       Did other     family    members send him letters?
10.38.24    L6            A.       YES.
10:38:34 1 7              O.       When you would wisi-t         him in jail       in
10:38:38    18    Brazorj-a county,            did he ever talk       to you about               strike
10:38:38 1 9      that.
10:38:49 2 0                               So when you would visit him -- your son in
10:38:53 2 1      the Brazoria            County jai1, he didn't indicate that he was
10'38,55    22    hraving any mental heal-th issuesi                 is that      correct?
10:38:59 2 3              A.       Yes, that's      correct.
10:39:06 2 4          O.    And when your son got out of the jail                           in
10:39:12    25    Brazori-a County, you said he was working with                        a

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10:39:14      1    caseworker.
10:39:16 2                                 Do you hawe any information               about what
10:39:17 3         type of treatment               he was receiving?
10:39:17      4            A.     No,     ma I am,    I don t t.
1O:39:19 5                 O.     Or what type of medication                 he was taking?
10.39:22      6            A.     f don't     .


10:39:26      '7
                       O.    Is tLrere anybody othler than yourself                      that   woul-d

10:39:29      I    know that information?
10:39:31 9                 A.     No.
10:39:46 1 0            O.  Do you know how many t j-mes your son went to
10:39:50     11    jail in Harris County?
10:39:51     12            A.     No.       I'm not sure.
10:39:56 1 3               O.Prior to his last      last stint in the Harris
10:40:02     14    County jail,   when he was in jail prior to that     1et                            me

10:40:09 1 5       strike       that    and start        over.
10:4012      l6                               to 2012, did you have an occasion to
                                            Prior
'I
     0:40:15 1 7   wisit        your son in the Harris County jail?
10:40:19     18            A.      2012?
10:40:20     19            O.      Prior     to that.
10:40:27     20            A.      Can you repeat the question?
10:40:28     2L         O.         Sure. Prior to 2012, your son was in jail                      at
10.40'33     22    other times,            correct?
10:40:35 2 3               A.      Yes.
 10:40:35 2 4              O.      fn the Harris          County jai1.
 10:40..37   25            A.      Okay.

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10:40:37 1            O.       During those prior wisits in jail    or prior
10:40:43 2        periods     of time when he was in the Harris County jai1,
10:40:46 3        did you ever wisit             him --
10.40:47 4            A           Yes.
10:40:48 5            o.                during   those other times?
10:40:49 6            A.          YeS.
10:40:49 1            o.          Did any othrer family          members go with          you?
10:40.52 8            A.          Yes.
10:40:54 9             o.  Did you write him letters                         when he was i-n the
10:40:59    10    Harris County jail prior to 2Ol2?
10:41   :01 1 1       A.          YeS.
104104 72             o.   Were there times when you would go to wisit
10:41   :08 1 3   your son in the Harris county jail and you would be tol-d
10:41   :13 14    that he wasn't allowed to hawe visitors?
10:41   :17 15         A.         Yes.
10:41:20    L6         O.   Were you tol-d t.hat the reason your son was not
10:41'25 7'7      al_lowed to hawe wisitors   was because he had wiofated
10:41   :28 1 B   rules of the jail?
10:41   :30 1 9        A.         No.
10'.41:34   20         O.         Was that       a question      that        you asked?
10:41:39    27         A.         No, I didn't        ask the question.             When I went
10:41:42    22    there,     it    would be like          5 on          it
                                                                    would say "No
10:41:46    23    wisitors        for this       ffoor"   or something like that.
10:41:49    24         O.         So it    was
10:41:51    25         A.         And then

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10:41   :51   1       O.    And I'm sorry.   "No wisitors f or thi-s f loor, "
10:41   :56   2    meaning none of the inmates on that ffoor were alJ-owed
10:42:00 3          to hawe visitors?
10.42:02 4                  A.      Yes.
10.42:05 5               O.    Is that    is that the experience that you
10:42:08      6     woul-d have anytime you went to the jail and you werenrt
10:42:13      '7
                    al-fowed to visit  your son' was because there would be
10.42:14 8          that     sign up?
10:42j17 9                  A.      Repeat that     again.
10:42:18     10         O.    Sure. Did that happen more than once, that you
10l.42..23   LL     would gro to wisit your son and there was the sign up
10:42:27     72     that said "No wisitors  for this floor"?
10:42:30     13             A.      It    happened more thran once           .


10.42.33     14             O.      Approximately        how many times do you recall?
10:42:35 1 5                A.      f don't    recalf.
10.42:40 7 6                O.      Was there     any other time that            you went to go
10:42:43 7'7        wisit  your son and there was not the sigrn up that said
10:42:47     18     "No visitors  this ffoor" but you were told you coul-d not
10:42:53      79    see your son?
10:42:53     20             A.      No.
10.42'53     27         O.          So as far as you know, the onJ-y time you
10:42:55     22     coufdn't        see your son in the Harris County jail was when
10:.42..58   23     there was a sign up that               said "No visitors         for this
10:43:07     24     f loor   tt ?


10:43:02     25             A.      Yes.

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10:43:09       1        O.   WLren you saw that sign uP, did you inquire of
10:43:13 2          anybody at the Harris County jail as to whrat that meant?
10:43:1   3    3            A.      YeS.
10:43:13       4            O.      What did they tell-             You?
10:43:15 5                  A.      They told     the pod maybe had a fight,
                                                     us that
10:43:18       6    the whole area maybe had a fight and got in trouble,      it
'10:43:25 1         wasn t t just him as an indiwiduaf.   So they wasn t t having
10:43:28       8    any wisitors               at that    time.
'10:43:30 9                 O-      Anything        else other than there was maybe                    a

10:43:33 1 0        fight        in the pod area?            Any other           reason they ever told
10:43:37      11    you why the floor               was not allowing             wisitors?
10:43:41      12            A.      They didn't           explain    it     tor but it was a time
                                                                                 IrIe

10:43:45 1 3        that           that he had -- didn't              hawe visitors,  but no one
10:43:48      14    explained        to me why he didn't                  have wisitors,          but he had
10:43:51 1 5        got him done, he had got beat uP, but no one ever called
'10:43:54     16    us and when f went to wisit, he couldn't hawe wisitors,
10'.43.57 L'7       but they didn't               say anything.
10:43:59 1 8                n
                            v.      c^
                                    Jv

10:43:59      19                                MS. HEDGE: And I'II               object     as
10:44:01      20    nonresponsive.
10:44.03      27        O.    (BY MS. HEDGE) When you said                                   I asked you
10:44:04      22    prewiously            if    you inquired        as to why the sign was up,
10.44.08      23    "No wj-sitors         f.loor, " and your response that
                                               for this
10:44:11      24    because there had been a fiqht in the pod hal1.
10:44j13      25            A.      Yes.

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10:48:19    1   He always liked          to be bY himself.
'10:48:19 2          O.       But that     was normal for him, correct?
104822      3        A.       Uh-huh.
10:48'.22 4          O.       Yes?
10.48.22 5           A.       Yes.
10.48.23 6           O.  So the norm -- the norm for him -- and this
10:48:27 7      wouLd be prior to him going being in ;ail, correct?                             Let
10:48:33 8      me ask the questions a different way.
10:48:35    9                   Before your son became incarcerated  i-n

10:48:41   10    Brazorl-a County, did he watch TV, hang out, and take
10:48:45 1 1     long walks?
10:4847 12           A.       Wel,   1, he always been by hisself           .     He l-iked to
10:48:50 1 3     be by himself.  He had a few friends                   but he liked      to
10:48:53   14    just be by himself.
10:48:55 1 5          O.       Okay.     And so those actiwities            that    you were
10:48:57   16    describj-ng      as what was normaf for him, watching TV and
10:49:00 1 7     hanging          hanging out    I'm assuming that I s hanging
10:49:03   18    out at the house?
10:49:05   19         A.       Yes.
'10:49:05 2 0         O.             and taking     1ong walks,     prior       to him bei-ng
10:49:09 2 1     incarcerated         in Brazoria     County, were those              was that
10:49:12   22    how he liwed his l-ife?            Was that      normal for him back
10:49:18   23    then,     too?
10.49.21 2 4          A.       I'm not understanding.
10:49:23   25         O.       Okay.     When your son got out of jail               in

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11:28:08          1    County at any Point in time?
'I    1:28:10 2            A.   I don't know.
11.28:11 3                 O.     Is there      anybody other than yourself           that   wou-l-d

11.2814           4    know that?
1'l'28'.14 5                  A.   No.
 11'28,22         6        O.   Are you aware of any point in time when your
 '11',28,.26 1         son was in the Harrj-s County jail that he refused to
 11.28:28 8            take medication?
 11.28'32         9           A.   WelJ., there was a time that            he was having them
 'I   l:28:54 1 0      under his tongue and it         was a hundred pi11s that                   how

 11:29:03 1 1          coufd he save them?            that   he didn't      take-
 11:2914         l2           O.   Okay.So there was an instance, and I know
 11:29:18 1 3          there was a period of time whren he was in the Harris
     11'.29:20   L4    County jail when he took a lot of the pi1Is and he had
     11'29'24    l5    to go to the hosPital.
     11,29:26    l6           A.   Yeah.   And f would -- I only found that out
     11.29'29    I7    through     the nurse, not through Harris County-
     11:29:32 1 8          O.       Okay. And when you say you found that out from
     11:29:35 1 9      the nurse,     the nurse at the hosPital?
     11:29:36 2O              A.    Yes.
     11:29:37    2L         O.    Okay. So at some point during               your son's
     11:29:43    22    incarceration   in the Harris County jail,                he had, for
     11,29,47    23    J-ack of a better     term,    stockpiled      his medication;        is
     11:29:52 2 4      that    correct?
     11.29,52    25           A.    He put it    under his tongue.

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11:29:55       1       O.   In other words, he would put it in his mouth,
11:29:55 2         put it under his tongue, but then not swalfow it?
11:29:59 3             A.      YES.

11:30:00       4       O.   And     and then to indicate to the guard that
11:30:02 5         he was taking the medication, but then in actuality  he

11:30:06 6         wasnrt;   is that      correct?
11:30:06       1       A.      I think     so.
11:30:09       8        O.     And itrs     your understanding            that   this    happened
1 1   :30:13   9   numerous times in a row to where he had stockpiled                         his
11:30:18 1 0       medication;  is that correct?
11:30:18 1 1            A.     f donrt know how manY times-
'11.30'21    L2         a.     Now you mentioned a hundred pills-
11:30:24 1 3                           How did you find         out about
11:30:26 1 4            A.     The nurse called          and told    us   -


11:30:28     15         O.     okay.      So the nurse said that              that's    how many
11:30:31 1 6       he had ingested?
11:30:32     lJ         A.     Yes.      And she said that          he had hid them under
11:30:36 1 8       his tongue and that           he was very sick and that              she was     a

11:30:39 1 9       mother and that        she was not supposed to call- me but she
11:30:45 2 0       caffed    me anyway.
11:30:50 2 1                           MS. HEDGE: Are you okay, Ms. Smith?                     You

11..30..50   22    want to take a break?
 11:30:54    23                        Let's     take a break.
 '11.30,56   24                        THE VIDEOGRAPHER: The time is                    11:30 a.m.
11:30:59 2 5       We're off    the record.

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11:40:.12 1       nonresponsive.
11.4012 2             O.    (BY MS. HEDGE) If               there   is an inmate that    is
11:40:15 3        known to be violent physically towards other inmates,
11:40:21 4        would you want your son to be housed with that person?
11.40.23 5                              MS. NADER: Objection,           ca1ls for
1'l:40'25 6       speculation.
11.40'.29 1           A.         I wouldn't      want him to be housed with any
11:40:34     8    wio.l-ent person,          but l-ike, again, he's in jail' what can
11.40:37     9    I do?
1   l:40:40 1 0                         MS. HEDGE: Objection,           nonresponsive   to
11:40:43 1 1      everything       after       "I would not want him to be housed with
11:40'.48   12    any inmate that            is wiolent. "
11:40:53 1 3          O.    (BY MS. HEDGE) Just want to make sure the
11:40:56 1 4      recordr s clear.
11:40:57    15                          If there was an inmate that was known to
11:41   :01 1 6   assault       other   inmates physically, would you want your
11:41   :05 17    son housed with that            inmate?
1141:07 L8             A.        No.
11:41:07    l9         O.  And part of the reason for that was because
1'l:41:09 2O      there woul-d be a danger for the safety of your son,
11:41:'11   2l    correct   ?

11:41:11    22         A.        Yes.
1141 16     23        O.         You mentj-oned that        your son liked      to be alone;
11:41,24 2 4      is that       correct?
11:41,24    25         A-        Yes.

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11:41:24         1        O.   And that was both before                      and after        he was in
1141'29 2             the Brazoria County jaili is that                      correct    ?

11:41      :33   3            A.      Thatrs      correct.
1   l:41   :33 4          O.   That was something that                      was just        how he had
11:41      :36   5    been his entire life?
11:41'.37 6                           Because he don't            like    trouble,     y€s.
1141.42 7                     a       Do you think         that    your son preferred           to be in   a

11:41:46 8             ceII       by himse I f?
'11.41:49 9                   A        I --   I don't      know if       he did or not.         I donrt
11:41:49 1 0           know.
11:41.49      LL              o.      Did you
11:41:53      72              A.       I never talked        to him about that.
11:41      :55 13             o.       That was groing to be my next question,                    is
11:41..57 1,4                 A.       Yes.
11:41      :57 15             o           whether you ever had conversations                     with him
11:42:00      l6       about that.
11:42:01      l'7             A.       No, not about that           in 1ai1.
11:42:13 1 8                  o.       I know we talked           earlier about the fact           that
11:42:16      19       you are not fami1iar with the training  that the Harris
11.42.20 2O            County jail staff members go througth, correct?
11:42:23      2L              A.       Yes.
11:42'23      22           O.    Youtre not claiming, are you, that Harris
11:42,27      23       County faifed to properly train its staff members, are
11:42:31      24       you?
11:42:32      25              A.       Say it     again.

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01   :29:56      1       o.        (BY MS. HEDGE) You'd agree with that?
01   :29:58 2            A.      Yes.
01:30:16 3               o.   In this l-awsuit, is it your position that there
01'30,22         4   should not hawe been a smoke detector in your sonts
01:30:27 5           ce11?
01:30:27 6                                MS. NADER:      Ob   jection,   J-egal conclusion.
01   :30:35 1             A.      No.
01:31:10         8       O.    (BY MS. HEDGE) Your complaint in this lawsuit
0l:31      :14   9   is not with regard to the use of the smoke detector in
0l   :31   :28 1 0   your son's celli  is that correct?
01 :31     :23 1 1                     MS. NADER: Objection,   form.
01:31.29       12         A.      Can you rePeat the question?
0l   :31   :33 1 3        O.      (BY MS. HEDGE) Sure.   In terms of what you
01,31:42       74    beliewe     Harris   County shoufd hawe done differently             in
01 :31     :46 1 5   prowiding      a ceII for your son to be in, is your
01:31:56 1 6         contenti-on     that       strike    that.
01.32:05       7'l                        Did you ever go wisit           your son in jaiJ. in
01:32:08 1 B         the wintertime?
01   :32:10 1 9           A.      Yes.
01:32:11       20         a.      Was it    col-d in the jail        when you saw him?
01,32:18       2L         A.       In winter,     yes.
01'32'.28      22        O.   Did you ever talk to your son about whether it
 01.,32,33     23    was cold in his cell in the wintertime?
 01'32.37 2 4             A.      Yes.
 01:32:38      25         a.      What did he tel-l        you?

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01:32:39      1         A.        He said it    was cold,     they didn't       provide
01   :32:43 2      blankets   -


01.32.44 3              O.        He told    you they did not prowide blankets?
01   :32:49   4         A.        Yes.
01.32.54 5              O.        At what point      in time did he tell         you that?
01   :32:58 6           A.        I don't    remember.
01:33:00      1         a.    Was it        during   his l-ast incarceration        in Harris
01   :33:13 8       County jail?
01   :33:13 9           A.        f don't    remember.
01   :33:14 1 0         O.   Did he tefl you if             there b/as any reason that             he
01   :33:15 1 1     was not gj-wen a blanket?
01:33:18 12             A.        No-
01:33:22    13          O.    Did you inquire of the Harris County jail                      staff
01   :33:28 1 4     why your son was not being giwen a blanket when it                       was

01:33:37 15         cold outside     or cold in t.he jail?
01:33:39 1 6            A.        No.
01   :33:49 17           O.       Do you understand that     your son was prowided a
01   :33:53 1 8     sheet while         he was in the Harris County jail to keep him
01:33:59 1 9        warm?
01   :34:00 2 0          A.       Yes.
01   :34:01 2 1          O.  Did your son teII you whether or not the sheet
01:34:10    22      had ewer been taken away from him whil-e he was in the
O1,3415     23      Harris County jail?
01,3417 2 4              A.       No.
01,,3425    25           O.       Hawe you yourself       ever had any conversatj-ons

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01:34:35      1   with any mental- health        provider         about how to deal- with
01   :34:40 2     someone whots suicidal?
01:34:50 3               A.   The provider,       the    MHMRA     prowider,        she used to,
01   :34:56   4   always l-eft brochures        and things         like    that,    but no         no
01:35:01 5        specifics      when he would go to the                  to like
                                                                     a -- when
01:35:09      6   they have to          the word I'm trying to use, when they
0'l,,35:22 1      were observing       him, that she would just leave brochures
01:35:25      8   with him, he would come home with them, al..l what she
01:35:29      9   brought him or they woul-d al-ways just prowide us with
01   :35:33 1 0   information.
01:35:33 1 1           O.   Did the information  that you received ever tel-l-
01   :35:36 12    you things l-ike someone may be feelingr     someone who
01:35:43 1 3      tras a mentaf issue may be suicidal   today but not be
01:35:46 14       suicidal    tomorrow?
01:35:47 1 5                         MS. NADER:         Ob   jection,     form.
0l :35:48 1 6            A.   No.
01:35:50 17              O.   (BY   MS   . HEDGE) Or is your understanding that
01   :35:53 1 8   if   someone is suicidal        that       they are suicidaf         24 hours     a

01   :35:58 1 9   day?
01:35:59 2 0             A-   No.
01:36:01 2 1             O.   That's     not your understanding?
0136:02     22           A.   No, matam.
01:36:13    23        O.      Was it     your understanding             with regard to your
01'36:17    24    son that    he went through periods              of time when he felt
01:36:22    25    l-ike he was going to hurt            himsel-f or harm himseff             and

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01:36:26       1    periods     of time when he didn't?  Do you agree with that?
01   :36:35 2              A.    He never tried to hurt himself, just that one
01:36:44 3          time wj-th the medicine,              but he             if   he was on the
01:36:52       4    medication,          Irm not         I donrt know.
01   :36:56 5           O.   Wel, 1, and I think you gave a good example' that
01:36:59       6    when he was liwi-ngr at hrome, there was a period of time
0l   :37:03 7       when he appeared to be fine to you but then on another
01:37:07       8    day he tried         to kil-l- himself , right?
01:37:l   |    9           A.     No.
01   :37:11 1 0            O.     Well-, the day that          Lre took pil1s,            was that         an
01:37:15 1 1        attempt      to kil-l- himself        when he was at home?
0'l:37:19 1,2              A.     Wel1, yeah, that           one he took the                 the
01   :37:23 1 3     medicine,      yes.
01.37:25      l4           O.     But the day before he took the medicine,                            he
01:37:29 1 5        didn't      appear to you to be suicidal;                     is that    correct?
01   :37:33 1 6            A.     He        not suicida.l-,        Do   .    He lust wasn't normaf               ,

01:37:39 1 7        just         he always was to himself                   and singing out loud
0'l.37.47 18        and all      that.      No.
01   :37:51 1 9            O.     But you           you yourself            got to experience          that
01.37,54 2O         there would be some days he wou1d appear to be his
01   :38:00 2 1     normal seJ-f            singing,       rapping,         hanging to himself,
01:38:04      22    hanging by himsel-f                  or keeping to himself              rather,        but
01:38:12      23    then that      one instance           when he took the pi1ls              and ended
01:38:.'16 2 4      up in the hospital             for    several       weeks, right?
0l :38:19 2 5                              MS. NADER: Objection,                  form.

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01:41:24         1                             You're not taking        the position         in this
01:41:26 2             1awsuit that        your son skrould not hawe been al--l-owed to
0l   :41   :30   3     have a bedsheet in February 2014, are you?
01:41      :35   4                   MS. NADER: Objection,  form.
01 :41     :36   5            A.     Can you rePhrase the question?
01:41      :40   6         O.        (BY MS. HEDGE) Sure.   fn February 2074, do you
01:41:44 1             know if     it was cold in the     in the jail at that time?
01:41      :48 8              A.    In Februo,tlr          Irm more than sure it           was co1d.
01:41      :51   9            O.   Yourre not contending                in this     l-awsuit that      the
01 :41     :55 1 0     jail    shoul-d have not given your son a bedsheet to keep
01.42.02 LL            him warm, are you?
01:42:04 1,2                                   MS. NADER: Objection,              form.
01   :42:06 1 3               A.    I'm trying        to figure        out how you           yourre
01:42:11       l4      saying        you're  aski-ng me am f -- wait.
0'l:42:17      75             O.    (BY MS. HEDGE) You want me to ask it                       again?
01:.42,,20     76             A.    Yes, just to make      yeah.
01:42:22       l7          O.       Okay.   Your son is in the jail-                 in February 2OL4
01:42'26       \8      and it's     cold j-n the jai1.
01:42:28       79                              You don't     believe     that     Harris   County
01:42:30       20      should have not given him a bedsheet,                       do you?
01:42:33       2!                              MS. NADER: Objection,              form.
01:42'34       22             A.    No.
01:42:35       23          O.    (BY MS. HEDGE) And you'd agree it would be not
01:42:41       24      a very nice thi-nq to do to keep him from having a
01:42:44       25      bedsheet if        it    were cold;     is that     correct?

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01l.42.47      1                           MS. NADER: Objection,               form.
01:42.48 2                  A.      Yes.
01   :43:00 3               O.      (BY MS. HEDGE) I want to ask you about
01   :43:03    4    something a littl-e            bit   dif ferent.
01:43:07 5                                 Are you aware of Harris              County receiving
01:43:11       6    any type of federal             funding?
01   :43:15    1            A.      For me or him or
01.43:17 8                  O.      frm just asking just            in general.
01:43:19       9                           Are you aware of the Harris                 County jaiJ-
01   :43:23 1 0     receiwing        any federaf         funding?
01:43:26 1 1                A.      No.
01:43:42      12         O.  You woul-d agree with me, Ms. Smith, that the
01.44.02      13    Harris County jail staff sawed your son's fife a number
01:44:06 1 4        of timesi        is that      correct?
01   :44:09   15                           MS. NADER: Objection,               form.
01   :44:16 1 6             O.      (BY MS. HEDGE) WouJ-d you agree with                     that?
01:44:21      11            A.      No.    How was that             oh, the           when      the
01:44:30 1 8        ttrree times that          the officers         tried     to save him and
01:44:35 1 9        they           they di-dn't     notify      me of it.       I didn't      know
01:44'.37     20    about the three ti-mes.
01:44l,40     2l                           MS. HEDGE: I'11           object     as not responsive.
01.44:47      22            O.      (BY MS. HEDGE) You're              aware that       you son,
01.44'.48     23    prior        to February 2O74, attempted                suicide    seweral- times;
01:44:54      24    is that        correct?
01.44'54      25            A.      Yes.

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01   :56:16    1    did    you?
01:56:17 2                 A.     No.
01   :56:30 3           O.     Hawe you ever written  any letters   other than
01:56:33       4    the Ietters   that you wrote to your son, did you write
01:56:37 5          any letters   to anybody at Harris County concerning your
01:56:41 6          son?
01:56:41 7                 A.     Yes.
01   :56:42    8           O.     Who did you wr.ite to?
01   :56:zt4 9             A.     The ludge that was handlingr the case.               I canrt
01:56:50 1 0        really         I think Mike or Mark.
01   :56:52 1 1            O.     McSpadden?
01,56.,54     12           A.     Yes.   We wrote him --       or I wrote several
0l :56:56 1 3       l-etters,     Ry daughter typed up several            l-etters,   and his
01:57:01 14         grandmother Lorene wrote Ietters.                  And then we wrote
01   :57:06   15    Adrian Garcia,        and that   was
01.57:12      l6           O.     You wrote letters        to Sheriff     Garcia?
01   :57:16 1 7            A.     Yes.
01   :57:16 1 8            O.     Were they typed up or were they handwritten?
01.57,2'1     L9           A.     Typed up.
01:57:22      20           O.     Did your sister      type them?
01,57,,24     2L           A.     Daughter.
01:57:26      22           O.     Daughter,     I'm sorry.
01,57,.27     23                         And which daughter was that?
01.57:27      24           A.     It probably     was DeAndria that        typed the letter
01:57:30 2 5        because shre normal-Iy heJ-ps me out with al-l of that.

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01   :57:31   1            O.       Does she go bY DeeDee?
01   :57:33 2              A.       Yes.
01   :57:34 3              O.       How many l-etters         did you send. to
01:57:39      4     Sheriff        Garcia?
01   :57:39 5              A.       I think    it    was two.         And that   was back in     I
01'.57:44 6         don't            between 2008 and '10, I think.
                                 know, like                           Yeah,
01,,5752 1          because f was working at    for Sherianda (phonet i-c) ,
01:57:58 8          y€s, because I had -- yeah. So it was between two
01   :58:00   9     thousand -- excuse me    2008 and '10 or 2OO9 and '10-
01:58:06 1 0            a.   So it was one of the prior incarcerations?
01   :58:09 1 1             A.      Yes.
01:58:09 12                 O.      And the l-etters        that      went to Judge McSpadden,
01   :58:14 1 3     were that              those also at the same period?
01:58:14 14                 A.      No.     That was this        time when he was         this
01   :58:16 1 5     last     time he was in.            We was trying        to get him to either
01   :58:23 1 6     a mental facility           to help him, you know, instead of
01:58:25 17         being in there.            We was tryi-ng to get him to go back to
01   :58:29 1 8     Rusk or the other mentaf facility                     that   he was at.
01   :58:32 1 9     That I s what we was pullinq               for.
01:58:34 2 0                O.      So in other words, you were trying                to get your
01   :58:35 2 1     son committed to a mental health facility instead of
01,58..39   22      being in the jail, and that's why you were writing
01   :58:45 2 3     letters        to Judgre McSpadden?
01:58:45    24              A.      We was trying         to get him some help because it
01:58:47    25      didn't        seem l-ike he was getting             any help.

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02t04i17     1    that     handles mental health patients?
02.04,,27 2               A.   Yes, I th j-nk . I 'm not   I guess       'm not  T

02:04:32 3        understanding if         that I s the same as us trying to write
02:04:35     4    the judge to get he1P.
02:04'.37 5               O.   Well,    and that's     kind of where I'm going with
02:04'37     6    this.
02'.0437     '7                 You tafked about l-etters that you had
02:04:39     8    written to the judge, and I'm wondering whether there
02'.04.41 9       was any formaf pleading that was typed out and fil-ed in
02:04:44    L0    the court      record.
02:04:49 11               A.   oh, that     wasnft    filed,     no.     We just      was writingr
02:04.,52   12    the letters.         Sorry.
02:04:56    13        O.    Do you hawe copies of any of the letters                        to the
02:04'59 14       judge that were sent?
02:05:02 15               A.    I thought       I put one in the             in the        the
02:05:10 1 6      attorneys,      I'm sure.        I thougtht I saved them one, but if
02:05:13 1 7      not,     my daugrhter still       has it     on her computer.
02:05:18 18               O.    So those letters       are stilL        accessible?
02.05.24    19            A.    Yes.
02:05'.25   20            a.   Would you be agreeabfe to,               if   you haven't
02:05.29    2l    already      given them to your lawyer,              to ask your daughter
02:05:31    22    to prowide them to you so they could be produced?
Q2:O5,35    23            A.    Yes.
02:05:44 2 4              O.    Have you ever -- wel-l, Strike that.
02:05:48    25                       Are you famil-iar with something cal-l-ed an

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02:05:51      1     Inmate Care Concern?                    Have you heard of that           before?
02:05:55 2                 A.         No.
02:05:56 3              O.    Hawe you filled out any other type of paperwork
02:06:00       4    on behalf of your son to make complaints to the Harris
02:06:04 5          County jail?
02:06:06 6                 A.          I hawen't,         no.
02:06:07 7                 O.         Are you aware of any other                 famiJ-y members doing
02:06:1   1    8    that   ?

02:06:11 9                 A.          I think     his grandmother Lorene did.
02:06:15 10                O.         And can you tell            me what it      is that    she did?
02:06:18      11           A.          I don't     know, but I just heard her Iike talking
02:06.21      L2    about different               things, and, you know, just tryi-nq to
02:06.,22     13    get he1p.            And she liwes way in Magnol-ia, so we didn't
02.06:25      L4    reaIIy              wel-I, I don't know   know exactly what she
02:06:29      15    did.
02:06:29 1 6               O.          And the complaint                and there    are complaints
02:06:32 1,'7       that       s}-   e made?
02:06:33 1 8               A.          I think     so.
02:06:34 1 9               O.          Do you know if           they were         i-f that   was related
02:06:36 2 0        to the letters               that     were being sent to Judge McSpadden
02:06:44      27    or to the sheriff?
02'idJ6 22                 A.          I don't       so. I think they were just
                                                   think
02.06.47      23    pleadings           and, you know, just trying to figrure out where
02:06:50      24    we can get answers or some help from.                           I don't    think
02:06:51      25    that       was related         to that.         I'm not sure.

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02:21:08      1    that      he was placed in was not a safe cell?
02.21   '12   2                        MS. NADER: Objection, calls                       for a legal
02i21:14 3          conclusion,             cal]-s for    speculation,       form.
02:21:18      4            A.        I donrt      know.
02'21'23 5              O.    (BY MS. HEDGE) Wef l-r lou stated earlier that
02:21:33 6          you thought that your son should be monitored more
02i21i37 7          closely         than he was; is that              correct?
02..21l.43 8               A.        Yes.
02:21:47      9            O.        And you bel-i-ewe that            being monitored      every
02:21   :53 1 0     20 to 25 minutes was not sufficiently                         cfose enoughi is
02:22:05 LL         that         correct?
02:22:05    L2             A.        Yes.
02'2206 73               O.   And if the only way that your son would have
02,.22:07   14      gotten closer monitoring would have been for him to stay
02,22:10    \5      in the mental- heafth                uni-t,   wouJ-d you agree that       that
02:22:13    76      mental heafth             doctor     should not have refeased him back
02:22:18    L7      to his cell-?
02'22:19    18                                MS. NADER: Objection,              form.
02'22'21    19             A.        Yes.
02'.22:24   20             (-)        (BY    MS. HEDGE) I want to ask you a question
02:22:32    27      about a quote that             I   s in the complaint.
02:22:38    22                                Did you hawe a chance to review the
02,22:42    23      pleading         that     your lawyers             lawyers fil-ed     before     it
02:22:45    24      was fi]-ed?
02:22:46    25             A.         I don't     know.

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02:47:00     1    j-n          in the pod, celI        block that           he was in,       correct?
02:47:06 2                A.      Okay.
02:47:07 3                O.      You recall     that     testimonY?
02:47:08 4                A.      Yes.
02:47:09 5            O.   Is it your position that your son should have
02:.47:13 6       had somebody watching him constantly,  in other words,
02:47:20 1        eyes on him 24 hrours a day on February 5th, 2OL4 because
02:47:27     I    of his mental condition                at that        time?
02:47.30 9                A.      Wel-l, dt that        time,     Ye   s.
02.47'.32 1O              O.      And if     the only way that              that     coufd be
02:47:35 17       accompl-ished would be for him to be in the mental- health
02:47:40    72    unit under MHMRA's care, is it your posj-tion thatrs
02:47:.45   13    where hre shoufd have been?
02:47:47    14                            MS. NADER: Objection,                    form.
02.47,52    15            A.      Yes.
02:48:00 1 6          O.    (BY MS. HEDGE) You understand you hawe an
02:48:03 7'7      expert wi-tness that's been hired in this case?
02:48:07 1B                                You understand         that?
02:48:07    19            A.      No.
02:48:07    20            O.      f'fl     represent     to you that          your lawyers have
02:48:11    27    filed        a Designatj-on of Expert Witnesses and an expert
02:48:15    22    has been retained            named Harwey Norris,                  from Boyce,
02:48:15    23    Louisiana.
02:48'22    24                             Hawe you heard that              name before?
02:48:26    25            A.      I don't     remember.         I probably           have.

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  1                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
  2                                       HOUSTON DTVTSION

  3   .JACQUELINE SMITH,
              Plaint i-ff      ,
  4
                                                           CIVIL ACTION        NO
  5   V                                                    4 : L5 - cv- 2226

  6
      HARRIS COUNTY, TEXAS,
             Defendant         -


  o                                  REPORTER' S CERTIF'f CATION
                                   DEPOSITTON OF JACQUELTNE SMTTH
  9                                        MAY A6, 2017
10                     I,    LILLIAN C. MELANCON, Certified                     Shorthand
11        Reporter,         hereby certify          to Lhe following:
L2                    That the witness,                  JACQUELINE SMITH, was duly
13        sworn by the officer                 and that. the transcript.             of the oral
1_4       depositrion        is a true         record      of trLre testimony        giwen by
15        the witrress,'
15                    That tkre deposition                 transcript      was submitted        on
L7               f                 \11          &sl?,       to tLie witness         or to the
18        attorney      for        the witness      for examination,           signature       and
1_9       return Lo me by                            (,t(                 , ?ol1      ;

20                   That pursuant             tro informatj-on         giwen to the
21_       deposition         officer      at trhe time said testimony                was taken,
22        thre following            includes     counsel       for    alJ. parties        of
23        record:
             Ms. Wallis Nadar, Ms. Hannah Herzog, and Mr. Katriel
24                Statman - attorneys for Plaint.iff JACQUELINE SMITH
             Ms. Laura Beckman Hedge and Mr. Keith Toler - attorneys
25                for Defendant HARRIS COUNTY ATTORNEY'S OFFICE

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                                                                                                L67


     1             I further           cerLify     that   f am neiLher     counsel for,
     2   related     to,      nor employed by any of the parties                     or
     3   attorneys         in the action          in which this    proceeding             was
     4   Laken, and further              that     I am not financial-ly         or
     5   otherwise         interested      in the orltcome of the action.
     6             Certified           Lo by me Lhis \q      day of
                                           , 2OL7    -


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